 

` . Case 1:06-cv-01021-RBW Document10 Filed 06/29/2006 Page10f2

lN THE uNlTED sTATEs DlsTRlcT couRT RECE,V
FOR THE D|STR|CT OF COLU|V|B|A ED
~'UN 2 9 2005
NANCYMAYEH
u.-s. oisv¥§','g’gggg/Tv. cLERK
ClV|L ACTlON NO. 1:06-CVO1021

,<m)

R|CK BEARD
Plaintiff, Pro Se

VS.

HOMECO|V||NGS F|NANC|AL NETWORK,
S|DNEY THOMPSON, JP MORGAN CHASE,
AND ANGELA K. RANDERMAN

Defendants

¢O'J(OBW)(O>W>CO`>@W§W>

DEFENDANT S|DNEY THOMPSCN'S MOT|ON TO D|SM|SS FOR
PLA|NT|FF'S FAlLURE TO STATE A CLA|M, WlTH BR|EF
TO THE HONORABLE UN|TED STATES D|STR|CT JUDGE:

Defendant, Pro Se, files this motion to dismiss plaintiffs suit for failure to state a
claim upon Which relief can be granted, as authorized by Federal Rule of Civil Procedure
12(b)(6).

A. lNTRODUCT|ON
1. Plaintiff is Rick Beard; defendant is Sidney Thompson, a State of Texas judicial
officer Who, at this time, appears Pro Se.
2. Plaintiff attempts to sue defendant for "BUS|NESS FRAUD AND DECEPT|ON."
3. ln his complaint, plaintiff did not state a claim upon Which relief can be granted.
Therefore, the court should dismiss plaintiff's suit against, at least, this defendant Sidney
Thompson, who at all relevant times acted in his official judicial capacity as a judicial officer
in Texas.
4. The court has authority to dismiss a suit for failure to state a claim upon which relief

can be granted if the complaint clearly demonstrates that plaintiff cannot prove any set of

DEFENDANT S|DNEY THOMPSON'S MOT|ON TO D|SM|S§ FOR PLA|NT|FF'SFFA|LURE TO STATE A
CLA|Ml WlTH BR|EF PAGE 1

_ Case 1:06-cv-01021-RBW Document 10 Filed 06/29/2006 Page 2 of 2

facts that would entitle it to relief. Hishon v. Kinq & Spalding, 467 U.S. 69, 73, 104 S. Ct.
2229, 2232 (1984).

5. ln the complaint, plaintiff alleged, in pertinent part, that this defendant was part of a
conspiracy "to defraud plaintiff out of his house." Plaintiff cannot succeed because this
defendant enjoys the shield of absolute judicial immunity.

6. Plaintiff attempted to state a cause of action for fraud. Plaintiff, however, did not
allege the necessary elements for fraud; for example, plaintiff omitted to plead that
defendant made a false statement or misrepresentation of any nature. Therefore, even if
plaintiff proves certain facts alleged in the complaint, he cannot prove the elements
necessary to state a claim for fraud against this defendant.

7. Because plaintiff's factual allegations do not support a claim upon which relief can

be granted, the court should dismiss this complaint.

Respectfully submitted,
A$@%Wc
sTB'NEY THoM oN "
Defendant, Pr Se

3212 Miller enue

Fort Worth, Texas 76119

817-531-5627 - Telephone
817-531-5633 - Facsimile

CERT|F|CATE OF SERV|CE
M'\/

l certify that on this the 20 day of June, 2006 a true and correct copy of the above
pleading is being served on the Plaintiff, in accordance with the provisions of Rule 5, FED.
R. Clv. P.:

Nlr. Rick Beard

Plaintiff, Pro Se

3152 Heritage Lane

Fort Worth, Texas 76140

S|DNEY THO?¢‘ SON

_D_EFENDANT S_lDNEY THOMPSON' S_ MOT|ON TO D|SM|SS FOR PL_A| TlFF' S FA|LURE TO STATE A
CLA|Ml WlTH BR|EF PAGE 2

